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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

JAMES WOODS, individually and as
representatives of the class,

                    Plaintiff,
                                             Case No: 1:18-cv-00929-MHC
      v.
                                             The Honorable Mark H. Cohen
UBER TECHNOLOGIES, INC.,

                    Defendant.


              CONSENT MOTION FOR EXTENSION OF TIME
      Plaintiff James Woods and Defendant Uber Technologies, Inc. in the above-

captioned matter respectfully request the Court extend the time for Uber to file an

Answer or otherwise respond to Plaintiff’s Complaint. The Parties submit that

there is good cause to extend the deadline to Answer or otherwise respond to

Plaintiff’s Complaint. Plaintiff’s Complaint raises complex issues of fact and law,

asserting six (6) causes of action and contains class action allegations.           See

Complaint (Doc. 1) at passim. Allowing Uber additional time to gather information

and evaluate the case will serve the interests of this litigation and will not prejudice

any party. The Parties have agreed to an extension of time for Uber to file an
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Answer to Monday, April 30, 2018. In filing this Motion, no defense or objection

is waived by Uber, and all of Uber’s rights are reserved.

        A proposed Order extending the time in which Uber may file its Answer or

otherwise respond to the Complaint is attached hereto as Exhibit A.

        Consented to and submitted this 22nd day of March, 2018.

/s/ Archie Irwin Grubb, II                       /s/ T. Joshua R. Archer
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                        CERTIFICATE OF SERVICE
      I hereby certify a copy of the foregoing has been served upon the following

via the Court’s CM/ECF system and U.S. Mail, properly addressed and postage

prepaid, on this the 22nd day of March, 2018:

                       Archie Irwin Grubb, II, Esq.
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                                            /s/ T. Joshua R. Archer
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